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                         CRIMINAL CAUSE FOR SENTENCE
 BEFORE JUDGE:     BROWN, USDJ           DATE: 7/12/2022 46 minutes
 DOCKET No. CR- 16-403 (GRB)
                                                                                   FILED
 DEFENDANT:            Eduardo Portillo       DEF. #26                             CLERK
 Present in custody
                                                                       3:10 pm, Jul 12, 2022
                                                                            U.S. DISTRICT COURT
 DEFENSE COUNSEL: Matthew Bisseden                                     EASTERN DISTRICT OF NEW YORK
 CJA Appointment                                                            LONG ISLAND OFFICE

 A.U.S.A.:  Justina Geraci, Megan Farrell, Paul Scotti
 INTERPRETER: [Maya Gray] -- [Spanish]
 PROBATION OFFICER/PRETRIAL: Lisa Langone
 COURT REPORTER/FTR LOG: Mary Ann Steiger                          MAGISTRATE DEPUTY: KM

 ☐       The Rule 11 proceedings were referred to Magistrate Judge . The Court reviewed the
 transcript prior to sentence and adopts the Report and Recommendation on the record.

 SENTENCE HEARING HELD ON COUNT(S): Count 1 of an 89-count Seventh Superseding
 Indictment

 ☒       Victims and/or witnesses not present
                       Testimony heard from:
 ☐       Changes to Guidelines as follows:
 ☒       Hearing not requested.
 ☒       Statements heard from defendant, defense counsel and government

 IMPRISONMENT:
 ☒    The defendant is sentenced to: 300 months with credit for time served.
 ☒    To be followed by 5 years Of supervised release.
 ☒    Special conditions of supervised release are as follows: See judgment
 ☐    The defendant is remanded to the custody of the US Marshal.
 ☐    The defendant shall surrender
 ☐    The court makes the following recommendation to the Bureau of Prisons:

 PROBATION:
 ☐   The defendant is sentenced to:
 ☐   Special conditions of probation:

 FINE, RESTITUTION & SPECIAL ASSESSMENT:
 ☐     The defendant is ordered to pay a fine in the sum of: $
 ☐     The fine is payable:
 ☒     The fine is waived based on the defendant’s inability to pay.
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 ☐    Restitution is ordered:.
 ☒    Special assessment in imposed in the sum of: $ 100.00
 ☒    The Govt. moves to dismiss the open counts. x Motion Granted.   Motion denied.
 ☒    The defendant is advised of his right to appeal.

 ☒    Other:
